Case 19-17117-amc          Doc 693-3 Filed 03/22/21 Entered 03/22/21 11:44:48               Desc
                                 Service List Page 1 of 6



                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:
VASCULAR ACCESS CENTERS, L.P.,                                19-17117 (AMC)
       Debtor.                                                Chapter 11




                                 CERTIFICATE OF SERVICE

                  IT IS HEREBY CERTIFIED that on this 22nd day of March, 2021, the United

States Trustee’s Motion to Dismiss Case or Convert Case to Chapter 7, Proposed Orders, and

Notice of Hearing, was served upon those parties as set forth on the attached Clerk’s Service List

via CM/ECF, unless otherwise noted below.

       Those parties sent service by the United States First Class mail, postage prepaid,

are as follows:


Vascular Access Centers, L.P.
2929 Arch Street, Suite 1705
Philadelphia, PA 19104
(Debtor)
(By U.S. Mail)


Lawrence G. McMichael, Esquire
Anne M. Aaronson Esquire
Dilworth Paxson, LLP.
1500 Market Street, Suite 3500E
Philadelphia, PA 19102
(Debtor’s Counsel)
By E-Mail: lmcmichael@dilworthlaw.com
By E-Mail: aaaronson@dilworthlaw.com
Case 19-17117-amc       Doc 693-3 Filed 03/22/21 Entered 03/22/21 11:44:48    Desc
                              Service List Page 2 of 6



Stephen V. Falanga, Esquire
Walsh Pizzi O’Reilly Falagna, LLP.
100 Mulberry Street, 15th Floor
Three Gateway Center
Newark, NJ 07102
(Chapter 11 Trustee)
By E-Mail: sfalanga@walsh.law

                                             BY:   /s/ Nancy Miller______________
                                                    Nancy Miller, Legal Clerk
Live Database Area                                                                                Page 1 of 4
    Case 19-17117-amc          Doc 693-3 Filed 03/22/21 Entered 03/22/21 11:44:48                  Desc
                                     Service List Page 3 of 6

Mailing Information for Case 19-17117-amc
Electronic Mail Notice List
The following is the list of parties who are currently on the list to receive email notice/service for this
case.

    • ANNE M. AARONSON aaaronson@dilworthlaw.com, mdolan@dilworthlaw.com;cchapman-
      tomlin@dilworthlaw.com;mferrier@dilworthlaw.com
    • JOSEPH N ARGENTINA joseph.argentina@faegredrinker.com,
      cathy.greer@faegredrinker.com
    • JONATHAN J. BART jbart@wilentz.com,
      jmcbride@wilentz.com;lcasey@wilentz.com;dbernheim@wilentz.com
    • THOMAS DANIEL BIELLI tbielli@bk-legal.com, ldees@bk-legal.com
    • AMY JANE BLUMENTHAL amy.blumenthal@kutakrock.com,
      natashia.townsend@kutakrock.com
    • GEORGE BOCHETTO gbochetto@bochettoandlentz.com
    • KEVIN P. CALLAHAN kevin.p.callahan@usdoj.gov
    • MARTHA B. CHOVANES mchovanes@foxrothschild.com,
      rsolomon@foxrothschild.com;nhawke@foxrothschild.com;brian-oneill-fox-
      5537@ecf.pacerpro.com
    • GEORGE M. CONWAY george.m.conway@usdoj.gov
    • STEPHEN V. FALANGA sfalanga@walsh.law
    • JENNIFER D. GOULD jgould@stark-stark.com, mdepietro@stark-stark.com;lsciscio@stark-
      stark.com
    • LESLIE C. HEILMAN heilmanl@ballardspahr.com, carbonej@ballardspahr.com
    • DAVID P. HEIM dheim@bochettoandlentz.com, twolf@bochettoandlentz.com
    • NICHOLAS S. HERRON nicholas.s.herron@usdoj.gov, USTPRegion03.PH.ECF@usdoj.gov
    • MATTHEW E. K. HOWATT matthew.howatt@usdoj.gov,
      JFiguero@usa.doj.gov;CaseView.ECF@usdoj.gov
    • JOHN C. KILGANNON jck@stevenslee.com, pam@stevenslee.com
    • CHRISTOPHER JOHN LEAVELL cleavell@klehr.com, lclark@klehr.com
    • AUTUMN M. MCCOURT amccourt@bracheichler.com
    • LAWRENCE G. MCMICHAEL lmcmichael@dilworthlaw.com,
      mdolan@dilworthlaw.com;cchapman-tomlin@dilworthlaw.com;mferrier@dilworthlaw.com
    • LISA M. PETERS lisa.peters@kutakrock.com, marybeth.brukner@kutakrock.com
    • PETER JOSEPH PIZZI sdarling@walsh.law
    • DANA S. PLON dplon@sirlinlaw.com
    • GARY F SEITZ gseitz@gsbblaw.com
    • FRIDRIKH V. SHRAYBER fred.shrayber@dentons.com,
      katie.jacobs@dentons.com;michelle.graeb@dentons.com;terri.bukovac@dentons.com
    • DAVID B. SMITH dsmith@skhlaw.com, b.dr70286@notify.bestcase.com
    • United States Trustee USTPRegion03.PH.ECF@usdoj.gov
    • HELEN SARA WARD helen.ward@dentons.com, michelle.graeb@dentons.com

Manual Notice List




https://ecf.paeb.uscourts.gov/cgi-bin/MailList.pl?282892250072419-L_1_0-1                          3/22/2021
Live Database Area                                                                               Page 2 of 4
    Case 19-17117-amc          Doc 693-3 Filed 03/22/21 Entered 03/22/21 11:44:48                 Desc
                                     Service List Page 4 of 6

The following is the list of parties who are not on the list to receive email notice/service for this case
(who therefore require manual noticing/service). You may wish to use your mouse to select and copy
this list into your word processing program in order to create notices or labels for these recipients.

      BRUCE J. BORRUS
      FOX ROTHSCHILD LLP
      1001 Fourth Avenue, Suite 4500
      Seattle, WA 98154-1192

      RICHARD E COE
      One Logan Square
      Suite 2000
      Philadelphia, PA 19103-6996

      Commonwealth of PA UCTS
      651 Boas Street, Room 702
      Harrisburg, PA 17121

      SYDNEY J. DARLING
      100 Mulberry Street, 15th Floor
      Three Gateway Center
      Newark, NJ 07102

      EisnerAmper LLP
      ,

      NICHOLAS S. FELTHAM
      One Logan Square
      Suite 2000
      Philadelphia, PA 19103-6996

      JEFFREY GARFINKLE
      18400 Von Karman Avenue
      Suite 800
      Irvine, CA 92612

      CHRISTOPHER M. HEMRICK
      100 Mulberry Street, 15th Floor
      Three Gateway Center
      Newark, NJ 07102

      HARLAMPO "BOB" KASOLAS
      Brach Eichler LLC
      101 Eisenhower Parkway
      Roseland, NJ 07068

      VERONICA I. MAGDA
      Fox Rothschild LLP
      1001 Fourth Avenue, Suite 4500




https://ecf.paeb.uscourts.gov/cgi-bin/MailList.pl?282892250072419-L_1_0-1                          3/22/2021
Live Database Area                                                               Page 3 of 4
    Case 19-17117-amc       Doc 693-3 Filed 03/22/21 Entered 03/22/21 11:44:48    Desc
                                  Service List Page 5 of 6

     Seattle, WA 98154-1192

     BRIAN P. MORGAN
     1177 Avenue of the Americas
     41st Floor
     New York, NY 10036-2714

     Omni Agent Solutions
     5955 De Soto Avenue
     Suite 100
     Woodland Hills, CA 91367

     ERIC S. PADILLA
     100 Mulberry Street, 15th Floor
     Three Gateway Center
     Newark, NJ 07102

     KRISTEN L. PERRY
     1717 Main Street
     Suite 5400
     Dallas, TX 75201-7367

     FRED B. RINGEL
     875 Third Ave. 9th floor
     Robinson Brog Leinwand Greene Genovese &
     Gluck P.C.
     New York, NY 10022

     J. STEPHEN SIMMS
     201 International Circle
     Suite 230
     Baltimore, MD 21030

     VINCENT P. SLUSHER
     1717 Main Street
     Suite 5400
     Dallas, TX 75201-7367

     SSG Advisors,LLC
     J. Scott Victor, Managing Director
     Investment Banker to the Ch. 11 Trustee
     Five Tower Bridge, Suite 420
     300 Barr Harbor Drive
     West Conshohocken, PA 19428

     DAVID H. STEIN
     Wilentz Goldman & Spitzer P.A.
     90 Woodbridge Center Drive
     Woodbridge, NJ 07095




https://ecf.paeb.uscourts.gov/cgi-bin/MailList.pl?282892250072419-L_1_0-1         3/22/2021
Live Database Area                                                                                Page 4 of 4
    Case 19-17117-amc          Doc 693-3 Filed 03/22/21 Entered 03/22/21 11:44:48                  Desc
                                     Service List Page 6 of 6


      DALLAS G. TAYLOR
      222 Delaware Avenue
      Suite 1410
      Wilmington, DE 19801

      Walsh Pizzi O'Reilly Falanga LLP
      Three Gateway Center
      100 Mulberry Street
      15th Floor
      Newark, NJ 07102

Creditor List
Click the link above to produce a complete list of creditors only.

List of Creditors
Click on the link above to produce a list of all creditors and all parties in the case. User may sort in
columns or raw data format.




https://ecf.paeb.uscourts.gov/cgi-bin/MailList.pl?282892250072419-L_1_0-1                          3/22/2021
